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                                                                     Clerk, U.S. District Court, ILCD

                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION


ANDREW MINIK et al.,                        )
                                            )
                             Plaintiffs,    )
                                            )
                  v.                        )       Case No. 18-cv-2101
                                            )
BOARD OF TRUSTEES OF THE                    )
UNIVERSITY OF ILLINOIS et al.,              )
                                            )
                           Defendants.      )
                                            )
and                                         )
                                            )
TARIQ KAHN,                                 )
                                            )
                       Counterclaimant,     )
                                            )
v.                                          )
                                            )
ANDREW MINIK et al.,                        )
                                            )
                  Counter-Defendants.


                                       ORDER

      Pending before the court are Joel Valdez’ Motion for Clarification and or

Reconsideration (#63), and Counter-Defendants’ Motion for Summary Judgment (#64),

and Counter-Defendants’ Motion to Dismiss for Want of Subject Matter Jurisdiction

(#66). For the reasons that follow, Valdez’ Motion (#63) is GRANTED. The Motion to

Dismiss for Want of Subject Matter Jurisdiction (#66) is GRANTED, and the Motion for

Summary Judgment (#64) is DENIED as MOOT.
Motion for Clarification and/or Reconsideration (#63)

       In his Motion for Clarification and/or Reconsideration, Valdez asks the court to

make clear that his state law claim against Khan remains pending, or to reconsider the

dismissal of that claim and reinstate it.

       In a February 25, 2019 Order (#44), the court ruled on the University Defendants’

Motion to Dismiss (#9). Defendant Khan was the only Defendant not included in that

Motion. The Complaint (#1) raised as its “FOURTH CLAIM” a claim against Defendant

Khan for “Assault and Damage to Valdez’s Property.” Khan did not file a motion to

dismiss this claim.

       In Plaintiffs Response (# 15) to the University Defendants’ Motion to Dismiss

(#9), Plaintiffs stated: “To the extent that Plaintiffs seek damages for violation of

constitutional rights, Plaintiffs request, in the interest of judicial economy, to amend

their Complaint on its face to include suit against all other Defendants in their

individual capacities as well.”

       In the court’s Order (#44) ruling on the University Defendants’ Motion (#9), the

court stated:

              Plaintiffs ask leave to file an amended complaint. This request is
       granted. Plaintiffs have 21 days from the entry of this order to file an
       amended complaint.
              The court notes that all of the claims of Plaintiffs Minik and Valdez
       have been dismissed. Should Plaintiffs Minik and Valdez not file an
       amended complaint within 21 days from the entry of this order, they will
       be dismissed as plaintiffs. . . .
              Plaintiffs have 21 days from the entry of this order to file an
       amended complaint. If the University Defendants wish to fully brief any
       individual capacity issue presented by any amended complaint, the court
       will entertain a motion to dismiss if requested to do so after Plaintiffs file
       an amended complaint. If Plaintiffs Minik and Valdez do not file an
       amended complaint, they will be dismissed as plaintiffs.


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       Because Plaintiffs had previously asked to amend their Complaint, the court

presumed that they would file an Amended Complaint and that such filing would

include all of their claims against all Defendants. They did not file an amended

complaint, and the court entered a 3/27/2019 Text Order stating:

       In the court’s February 25, 2019 Order [44], the court dismissed all of the
       claims of Plaintiffs Minik and Valdez. The court granted Plaintiffs 21 days
       to file an amended complaint, stating: “If Plaintiffs Minik and Valdez do
       not file an amended complaint, they will be dismissed as plaintiffs.” Over
       21 days have since passed, and Plaintiffs have not filed an amended
       complaint. Therefore, Minik and Valdez are DISMISSED as Plaintiffs.
       They remain in the case as Counter-Defendants.

       Federal Rule of Civil Procedure 60(a) allows a court to “correct a clerical mistake

or a mistake arising from oversight or omission whenever one is found in a judgment,

order, or other part of the record.” Fed. R. Civ. P. 60(a). It further states: “The court

may do so on motion or on its own, with or without notice. But after an appeal has been

docketed in the appellate court and while it is pending, such a mistake may be corrected

only with the appellate court’s leave.”

       The court finds that it should not have dismissed Valdez’ claim against Khan.

The claim is reinstated under Rule 60(a), which permits the court to correct its oversight

in dismissing the claim against Khan when ruling only on the University Defendants’

Motion to Dismiss the claims against the University Defendants. The motion the court

was ruling on concerned only the claims against the University Defendants. Khan

never sought dismissal of the state law claim by Valdez against him. The court

expected that Plaintiffs would file an amended complaint including all of their claims

against all Defendants as they had previously requested leave to amend their




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Complaint, but that did not happen. Without an amended complaint including the

claim, Valdez’ state law claim against Minik was inadvertently dismissed alongside his

claims against the University Defendants. This oversight may be corrected under Rule

60(a).

         Valdez’ Motion for Clarification and/or Reconsideration (#63) is GRANTED.

The court reconsiders its February 25, 2019 and March 27, 2019 Orders, and Valdez’

state law claim against Khan is reinstated.



Counter-Defendants’ Motion to Dismiss for Want of Subject Matter Jurisdiction (#66)

         The claims remaining in this case are Khan’s counterclaims, and the claim of

Valdez against Khan which this court reinstated above. None of those claims is a

federal claim; only state law claims remain pending in this case.

         Valdez asked the court to reinstate his state law claim against Khan, and the

court has reinstated that claim. In a separate Motion (#66), Valdez also asked the court

to dismiss the entire case, including Valdez’ own state law claim. Joined by all Counter-

Defendants, Plaintiff/Counter-Defendant Valdez asks the court to dismiss the case

because no federal claims remain in this case. Defendant/Counter-claimant Khan

requests that the court continue to exercise its supplemental jurisdiction to consider the

state law claims that remain pending.

         The Seventh Circuit consistently has stated that “it is the well-established law of

this circuit that the usual practice is to dismiss without prejudice state supplemental

claims whenever all federal claims have been dismissed prior to trial.” Groce v. Eli Lilly,

193 F.3d 496, 501 (7th Cir. 1999); Alonzi v. Budget Constr. Co., 55 F.3d 331, 334 (7th Cir.

1995); Brazinski v. Amoco Petroleum Additives Co., 6 F.3d 1176, 1182 (7th Cir. 1993). In its


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discretion, the court declines to depart from that “usual practice” in this case. The court

dismisses without prejudice the state law claims, including the reinstated state law

claim Valdez brought against Khan. See Phillips v. Allen, 743 F. Supp. 2d 931, 952-53

(N.D. Ill. 2010).

       Because all claims are dismissed, any other pending motions, including Counter-

Defendants’ Motion for Summary Judgment (#64), are DENIED as MOOT.

       IT IS THEREFORE ORDERED:

       (1)     Valdez’ Motion for Clarification and/or Reconsideration (#63) is

               GRANTED. The court reconsiders its February 25, 2019 and March 27,

               2019 Orders, and Valdez’ state law claim against Khan is reinstated.

       (2)     The court relinquishes supplemental jurisdiction on all remaining counts,

               including the reinstated state law claim Valdez brought against Khan.

               The claims are dismissed without prejudice. All other pending motions,

               including Counter-Defendants’ Motion for Summary Judgment (#64), are

               DENIED as MOOT.

       (3)     This case is terminated.



               ENTERED this 28th day of January, 2020.

                                    COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE




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